Peter C. Dee, Esq.
Attorney for Plaintiffs
23 Jones St., Unit 11
New York, NY 10014

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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PATRICIA RANTA, NICHOLAS RANTA, and
PRISCILLA RANTA,

                                   Plaintiffs,                        Case No. 14-CV-3794 (FB) (LB)

                 against

THE CITY OF NEW YORK, NEW YORK CITY
POLICE DEPARTMENT, and LOUIS SCARCELLA,
and STEPHEN CHMIL, Individually and as
Members of the New York City Police Department,
and JOHN AND JANE DOE SUPERVISORS,

                                    Defendants.
------------------------------------------------------------------X

                        NOTICE OF CHANGE OF FIRM AND ADDRESS

        Pursuant to Rule 1.3, of the Local Civil Rules of the United States District Court for the

Eastern District of New York, plaintiffs hereby notify the Court, parties and counsel of a change

of firm, email address, telephone number, and physical address, in the above-captioned case. All

future correspondence, pleadings, and other documents submitted in hard copy or electronically

should be directed to the undersigned at the following:

                 Firm Name:        Peter C. Dee, Esq.

                 Address:          23 Jones Street, Unit 11
                                   New York, NY 10014

                 Email:            deepeterc@gmail.com

                 Telephone:        (917) 734 - 7023
Dated: December 17, 2020

                           Respectfully submitted,

                           /s/ Peter C. Dee________________
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                           Attorney for Plaintiffs Patricia Ranta,
                           Nicholas Ranta, and Priscilla Ranta




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2020, I served the foregoing Notice of Change of

Address with the Clerk of Court using the CM/ECF system, which sends notification of this

filing to all counsel of record.


                                                    /s/ Peter C. Dee .
                                                    Peter C. Dee, Esq.




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